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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:07CR3117
           v.                        )
                                     )
SANTIAGO ALMAZAN RIOS,               )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     Defendant’s motion for extension of deadline, filing 24, is
granted and the deadline for pretrial motions is extended to
October 2, 2007.

     DATED this 2nd day of October, 2007.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
